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                                                           GMS Report
                                             Second Chance Act Community Program
                                                        2018-CY-BX-0025
                                           Reporting Period: July 1 - September 30, 2020

This report is generated for the Establishing, Managing & Generating Effective Services, INc. grantee for federal award number
2018-CY-BX-0025. The award amount is $ 500,000. It reflects performance measurement data for the period July 1 - September 30, 2020. Any
funds reported only represent an estimate of dollars allocated or used for activities covered by this award.

Project Description
The Second Chance Act of 2007 (Pub. L. 110-199) provides a comprehensive response to the increasing number of incarcerated adults and
juveniles who are released from prison, jail, and juvenile residential facilities and returning to communities. The Second Chance Act grant
funding is designed to help communities develop and implement comprehensive and collaborative strategies that address the challenges posed
by reentry and recidivism reduction. ?Reentry? is not a specific program, but rather a process that starts when an individual is initially
incarcerated and ends when he or she has been successfully reintegrated in the community as a law-abiding citizen. Section 211 of the Act
authorizes grants to nonprofit organizations and federally recognized Indian tribes that may be used for comprehensive evidenced-based
wrap-around services/programs. The goal of the Comprehensive Community-Based Adult Reentry Program is the use of reentry plans that
address the identified needs of the individuals and is supported by trained mentors to promote the safe and successful community reintegration
of adults who have been incarcerated. These needs are often related to housing, employment, substance abuse, and mental health. The Second
Chance Act Comprehensive Community-Based Adult Reentry Program supports organizations providing comprehensive reentry services to
program participants who are screened, assessed, and identified for program participation pre-release. During the post-release phase of the
reentry program, participants will receive case management services and be connected to evidence-based programming designed to ensure that
the transition from prison or jail to the community is safe and successful. The grantee will provide pre-release mentoring and trauma-informed
curriculum to 75 people with a sex offense charge or conviction that are returning to Chicago from Cook County Jail or Illinois Department of
Corrections. Pre-release, the program will use standardized assessments and behavioral tools, such as motivational interviewing and cognitive
behavior techniques, to identify and address criminogenic behaviors. Post-release, the program will provide individual and group counseling,
case management, and aftercare services. CA/NCF

                                                                   Award Information
  2. Federal Congressional District of where services occur:                                                                         IL-01
  3. Please specify the implementing organization type:                                                                              Nonprofit organization
  4. Is the implementing organization a faith-based program? Organizations nationwide may self-define themselves as faith-based
  organizations.                                                                                                                     No

  5. Is the implementing organization a community-based program? BJA defines community-based programs as found in statute 42
  U.S.C. § 3791(a)(11): neighborhood or community-based organizations as "organizations, including faith-based, are representative   Yes
  of communities or significant segments of communities."




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Performance Measurement Data
                        Performance Measurement                                            PROGRAM ADMINISTRATION - Program Characteristics
  15. Is the mentoring program jail based or prison based?                                                                                                       Both
  16. Enter a mentoring program description below.

  Mentors provide emotional support and encouragement to individuals by promoting positive lifestyle changes by way of cognitive and behavioral techniques.
  Mentoring in this context is the process of providing pre- and post-release services to detainees in jails and prisons as well as to those reintegrating back into
  their communities via a trauma informed and mentoring curricula. In addition to providing group mentoring, mentors also provide case management services
  to the participants to help them acquire needed community resources, such as housing, physical and mental health services, employment, and job training
  skills. Mentors assist participants in understanding trauma that they may have experienced and learn ways to cope with the trauma.
  17. List the target population the grantee will be serving.

  The target population is any adult age 18 or older who has been charged or convicted of a sexual offense and assessed to be of medium to high-risk for
  recidivism. This population of individuals are either currently detained in the Department of Cook County jail, or on supervision, probation or parole due to a
  sexual offense charge or conviction.
  18. What is the expected number of participants the mentoring
      program plans to serve? Please provide the number of expected
      participants over the life of the grant award. This value may correspond
      to what was reported in the grant application.                                                                                                                75
  19. What is the expected number of mentors the program plans to
      participate?                                                                                                                                                  10
  20. What is the date that the mentoring program first enrolled a participant
      with the BJA Second Chance Act award funding?                                                                                                      10/01/2019
  21. What is the date that the mentoring program first enrolled a
      participant?                                                                                                                                       10/01/2019

                        Performance Measurement                                             PROGRAM ADMINISTRATION - Baseline Recidivism
  22. Have you calculated a baseline recidivism rate?
      A. Yes/No                                                                                                                                                   Yes

      B. If no, please explain and skip remainder of section                         NR
  23. What is the baseline recidivism rate?                                                                                                                            3
  24. What population was the baseline recidivism rate calculated for? Select
      one.
      A. Other                                                                                                                                                  Other

      B. If other, please explain:

  Our pre-release target population is based upon individuals who are presently charged with a sex offense and are detainees in the Cook County jail and our
  post-release target population are those who have been convicted of a sex offense who are on court supervision, probation, and parole as well as those
  persons referred to treatment with charges related to inappropriate sexual behaviors.
  25. What type of baseline recidivism rate is the grantee providing? Select
      one.
      A. Reconviction rate                                                                                                                          Reconviction rate

      B. If other, please explain:                                                   NR
  26. How long was the follow-up period for the baseline rate?                                                                                                      12
  27. What percent reduction in recidivism is the grantee trying to achieve?                                                                                           1
  28. What is the expected date when the recidivism reduction will be
      achieved?                                                                                                                                          09/30/2021
  29. Is there any other additional information you would like to provide
      about the baseline rate or your recidivism reduction goal? If “no,” write
      N/A.                                                                           N/A

                        Performance Measurement                                        PROGRAM ADMINISTRATION - Mentoring Characteristics
  30. How many mentors were recruited to participate in training?
      A. For participants receiving pre-release services                                                                                                               0

      B. For participants receiving post-release services                                                                                                              6

  31. How many mentors successfully completed the mentor training?
      A. For participants receiving mentoring and pre-release services                                                                                                 0

      B. For participants receiving mentoring and post-release services                                                                                                6

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  32. Of those who successfully completed the mentor training, how many
      NEW mentors participated in the program?
      A. For participants receiving mentoring and pre-release services                                                                                           0

      B. For participants receiving mentoring and post-release services                                                                                          0

  33. What is the total number of mentors who participated during the
      reporting period?
      A. For participants receiving mentoring and pre-release services                                                                                           0

      B. For participants receiving mentoring and post-release services                                                                                          6

  34. How many mentors left the program during the reporting period?                                                                                             0
  34. How many mentors left the program in the reporting period?                                                                                                 0
  35. How many participants needed to be matched to a mentor?
      A. For participants receiving mentoring and pre-release services                                                                                           0

      B. For participants receiving mentoring and post-release services                                                                                      60

  36. How many NEW matches were made between participants and
      mentors?
      A. For participants receiving mentoring and pre-release services                                                                                           0

      B. For participants receiving mentoring and post-release services                                                                                          9

  37. Does the mentoring program conduct group mentoring sessions?                                                                                         Yes
  38. What is the maximum number of participants able to be included
      within group mentoring sessions?
      A. For participants receiving mentoring and pre-release services                                                                                       15
      B. For participants receiving mentoring and post-release services                                                                                      15
  *NR = not reported

                                                                                    PARTICIPANT CHARACTERISTICS - Eligibile and Admitted
                       Performance Measurement
                                                                                                      Participants
  39. How many individuals were eligible to participate in the mentoring
      program?
      A. Number eligible for pre-release services                                                                                                                0

  40. How many total participants were enrolled in the mentoring program?
      A. Total number enrolled to pre-release services                                                                                                           0

      B. Total number enrolled to post-release services                                                                                                          9

  41. How many NEW participants were admitted to the mentoring
      program?
      A. Number of NEW participants admitted in pre-release services                                                                                             0

      B. Number of NEW participants admitted in post-release services                                                                                            9

      C. Of the number of NEW participants enrolled in post-release, how
         many completed the pre-release program requirements?                                                                                                    0

                       Performance Measurement                                      PARTICIPANT CHARACTERISTICS - Assessment Activities
  42. Does the mentoring program use a risk assessment?                                                                                                    Yes
  43. Is the risk assessment instrument validated?                                                                                    Validated and normalized
  44. What risk assessment instrument is used?
      A. Other                                                                                                                                           Other
      B. If other, please specify

  The risk assessments will be used for the trauma informed and mentoring curricula, which are: Static 99-R, Adverse Childhood Events (A.C.E.), Patient Health
  Questionnaire, Generalized Anxiety Disorder, Drug Abuse Screen Test, and Alcohol Use Disorders Identification Test.

               Performance Measurement                                     PARTICIPANT CHARACTERISTICS - Assessment Activities
     Low- Moderate- High-Risk Participants                                                             Pre-release
                                                                          Jul - Sep 20
  45. What was the risk assessment level of NEW pre-release participants?



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         Low Risk                                                                                                                                    NR

         Moderate Risk                                                                                                                               NR

         High Risk                                                                                                                                   NR

         Don’t know                                                                                                                                  NR
         The sum of this table (Calculated Value) should
         be equal to the number of NEW participants
         enrolled in the program during the reporting
         period (Auto fill Value).                                                                                                                   NR

  *NR = not reported

                         Performance Measurement                                                                   PARTICIPANT CHARACTERISTICS - A
  46. How many NEW participants received a case plan (transition plan)?
      A. For participants receiving pre-release services

                 Performance Measurement                               PARTICIPANT CHARACTERISTICS - Race, Ethnicity, and Gender
                           Ethnicity                                             Males                                    Females
                                                                        Jul - Sep 20
  47. Enter the appropriate ethnicity and gender, and then race and gender, of NEW participants admitted to the pre-release mentoring program.
         Hispanic or Latino/a                                                                    NR                                                  NR

         Non-Hispanic or Latino/a                                                                NR                                                  NR

         Unknown                                                                                 NR                                                  NR

         The sum of this table (Calculated Value) should be
         equal to the number of NEW participants admitted to
         the program during the reporting period (Auto fill
         Value).                                                                                 NR                                                    0

  *NR = not reported

                                Race                                               Males                                   Females
                                                                        Jul - Sep 20
  47. Enter the appropriate ethnicity and gender, and then race and gender, of NEW participants admitted to the pre-release mentoring program.
         White                                                                                        0                                                0

         Black or African American                                                                    0                                                0

         Asian                                                                                        0                                                0

         American Indian or Alaska Native                                                             0                                                0

         Pacific Islander or Native Hawaiian                                                          0                                                0

         Multiracial                                                                                  0                                                0

         Unknown                                                                                      0                                                0

         The sum of this table (Calculated Value) should be equal
         to the number of NEW participants admitted to the
         program during the reporting period (Auto fill Value).                                       0                                                0

                                                                                       SUCCESSFUL AND UNSUCCESSFUL COMPLETIONS -
                         Performance Measurement
                                                                                                   Successful Completions
  48. Define successful completion for the mentoring program. Successful
      completion definitions can be either process-based (e.g., the program
      participant has completed 70% of program requirements or individual
      case plan within 1 year) or outcome-based (e.g., the program participant
      has achieved core benchmark goals of the program that are not
      necessarily related to behaviors (such as, but not limited to, attaining
      stable housing, attaining employment, achieving a GED, etc.) within 1
      year).

  Successful completion is based upon completion of our Trauma-informed and Mentoring Curricula, which has 4 modules each. Due to discharge from program
  or dropouts, twenty-seven participants, which is 36% of a population of 75, will complete the program if 2 trauma-informed and 2 mentoring modules are
  done. Fifty-six participants, which is 75% of a population of 75, will complete the program if they have completed all 4 trauma-informed and mentoring
  modules.
  49. What is the expected mentoring program length in months?
      A. For participants receiving pre-release services                                                                                              24

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      B. For participants receiving post-release services                                                                                      24

  50. Did any participants leave the program, either successfully or
      unsuccessfully, during the reporting period?                                                                                            Yes
  51. Have any participants successfully completed the mentoring program
      requirements during the reporting period?
      A. Yes (Go to question 52)
         No (Go to question 53)                                                                                                               Yes

      B. If no, why have participants not successfully completed the
         mentoring program?                                                     NR
  52. How many participants successfully completed the mentoring
      program requirements?
      A. Number of participants who completed pre-release services                                                                             0

      B. Number of participants who completed post-release services                                                                            2

      C. Of those participants who completed post-release services, how
         many participants also successfully completed a pre-release
         program?                                                                                                                              0

                                                                                      SUCCESSFUL AND UNSUCCESSFUL COMPLETIONS -
                        Performance Measurement
                                                                                                 Unsuccessful Completions
  53. Have any participants unsuccessfully exited the mentoring program
      during the reporting period?                                                                                                            Yes
  *NR = not reported

                                                                                     SUCCESSFUL AND UNSUCCESSFUL COMPLETIONS -
                     Performance Measurement
                                                                                                Unsuccessful Completions
                       Unsuccessful Completions                                                          Pre-release
                                                                          Jul - Sep 20
  54. Enter the number of individuals who did not complete the mentoring program for the categories below.
         Number of participants no longer in the program due to failure
         to meet program requirements                                                                                                          0

         Number of participants no longer in the program due to court or
         criminal involvement (technical violation, arrest, conviction,
         revocation, reincarceration)                                                                                                          0

         Number of participants no longer in the program due to a lack
         of engagement (no shows and nonresponsive participants)                                                                               0

         Number of participants no longer in the program due to
         absconding                                                                                                                            0

         Number of participants no longer in the program due to
         relocating or case transfer                                                                                                           0

         Number of participants no longer in the program due to death
         or serious illness                                                                                                                    0

         Number of participants who did not complete the program for
         other reasons (please specify)                                                                                                        0

         Specify other reasons (2000 characters)                                                                                             n/a

         The sum of this table (Calculated Value) should be less than or
         equal to the total number of participants enrolled in the
         pre-release program during the reporting period (Auto fill Value).                                                                    0

                           Unsuccessful Completions                                                          Post-release
                                                                          Jul - Sep 20
  54. Enter the number of individuals who did not complete the mentoring program for the categories below.
         Number of participants no longer in the program due to failure to meet
         program requirements                                                                                                                  1

         Number of participants no longer in the program due to court or criminal
         involvement (technical violation, arrest, conviction, revocation,
         reincarceration)                                                                                                                      1

         Number of participants no longer in the program due to a lack of
         engagement (no shows and nonresponsive participants)                                                                                  0


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         Number of participants no longer in the program due to absconding                                                                     0

         Number of participants no longer in the program due to relocating or
         case transfer                                                                                                                         0

         Number of participants no longer in the program due to death or serious
         illness                                                                                                                               0

         Number of participants who did not complete the program for other
         reasons (please specify)                                                                                                              0

         Specify other reasons (2000 characters). If none, please enter "n/a".                                                               n/a

         The sum of this table (Calculated Value) should be less than or equal to the
         total number of participants enrolled in the post-release program during the
         reporting period (Auto fill Value).                                                                                                   2

                                                                                 SUCCESSFUL AND UNSUCCESSFUL COMPLETIONS - Outcomes
                       Performance Measurement
                                                                                              for Post-release Program Exits
           Low-Moderate-and High-Risk Program Exits                                                   Successful Completers
                                                                         Jul - Sep 20
  55. What was the risk assessment level for those individuals who exited post-release services?
         Low Risk                                                                                                                              2

         Moderate Risk                                                                                                                         0

         High Risk                                                                                                                             0

         Don't Know                                                                                                                            0

         The sum of the column (Calculated Value) should be equal to the
         number of successful completers who exited the program. (Auto fill
         Value).                                                                                                                               2
         The number of successful completers who exited the program.
         (Auto fill Value).                                                                                                                    2

               Low-Moderate-and High-Risk Program Exits                                                Unsuccessful Completers
                                                                         Jul - Sep 20
  55. What was the risk assessment level for those individuals who exited post-release services?
         Low Risk                                                                                                                              0

         Moderate Risk                                                                                                                         0

         High Risk                                                                                                                             2

         Don't Know                                                                                                                            0

         Sum of the column (Calculated Value) should be equal to the number of
         unsuccessful completers who exited the program during the reporting
         period. (Auto fill Value)                                                                                                             2
         Sum number of unsuccessful completers who exited the program during
         the reporting period. (Auto fill Value)                                                                                               2

     Post-release Program Exits and Employment                                    Exited with Employment                       Don't Know
                                                                         Jul - Sep 20
  56. How many post-release participants exited the mentoring program and were employed during the reporting period?
         Participants who successfully completed the program                                                           1                       0

         The sum of the row (Calculated Value) should be less
         than or equal to the number of successful completers
         who exited the program during the reporting period.
         (Auto fill Value)                                                                                             1                       2

         Participants who unsuccessfully completed the program                                                         1                       0

         The sum of the row (Calculated Value) should be less
         than or equal to the number of unsuccessful
         completers who exited the program during the
         reporting period. (Auto fill Value)                                                                           1                       2

            Post-release Program Exits and Housing                                      Exited with Housing                   Don't Know
                                                                         Jul - Sep 20

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  57. How many post-release participants exited the mentoring program and were housed during the reporting period?
         Participants who successfully completed the program                                                     1                               0

         The sum of the row (Calculated Value) should be less than or
         equal to the number of successful completers who exited the
         program during the reporting period. (Auto fill Value)                                                  1                               2

         Participants who unsuccessfully completed the program                                                   1                               0

         The sum of the row (Calculated Value) should be less than or
         equal to the number of unsuccessful completers who exited the
         program during the reporting period. (Auto fill Value)                                                  1                               2

                                                                                     TREATMENT INTERVENTIONS AND SERVICES -
                       Performance Measurement
                                                                                             Cognitive-based Services
  58. Does the mentoring program refer individuals out to other agencies to
      receive cognitive-based services?                                                                                                         No
  59. How many NEW participants were referred out to receive
      cognitive-based services?
      A. For participants receiving pre-release services                                                                                        NR
      B. For participants receiving post-release services                                                                                       NR
  60. Does the mentoring program provide cognitive-based services directly
      to participants?                                                                                                                          Yes
  61. How many total participants were enrolled in cognitive-based services
      that were directly provided during the reporting period?
      A. For participants receiving pre-release services                                                                                         0
      B. For participants receiving post-release services                                                                                        9
  62. How many NEW participants were enrolled in cognitive-based
      services that were directly provided?
      A. For participants receiving pre-release services                                                                                         0
      B. For participants receiving post-release serviecs                                                                                        9

                                                                                TREATMENT INTERVENTIONS AND SERVICES - Mental
                       Performance Measurement
                                                                                                Health Services
  63. Does the mentoring program refer individuals out to other agencies to
      receive mental health services?                                                                                                           No
  64. How many NEW participants were referred out to receive mental
      health services?
      A. For participants receiving post-release services                                                                                       NR
  65. Does the mentoring program provide mental health services directly to
      participants?                                                                                                                             Yes
  66. How many total participants were enrolled in mental health services
      that were directly provided during the reporting period?
      A. For participants receiving post-release services                                                                                        0
  67. How many NEW participants were enrolled in mental health services
      that were directly provided?
      A. For participants receiving post-release services                                                                                        0

                                                                               TREATMENT INTERVENTIONS AND SERVICES - Substance
                       Performance Measurement
                                                                                                Abuse Services
  68. Does the mentoring program refer individuals out to other agencies to
      receive substance abuse services?                                                                                                         No
  69. How many NEW participants were referred out to receive substance
      abuse services?
      A. For participants receiving post-release services                                                                                       NR
  70. Does the mentoring program provide substance abuse services directly
      to participants?                                                                                                                          Yes
  71. How many total participants were enrolled in substance abuse services
      that were directly provided during the reporting period?
      A. For participants receiving post-release services                                                                                        1
  72. How many NEW participants were enrolled in substance abuse
      services that were directly provided?

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      A. For participants receiving post-release services                                                                             1

                                                                               TREATMENT INTERVENTIONS AND SERVICES - Employment
                       Performance Measurement
                                                                                                   Services
  73. Does the mentoring program refer individuals out to other agencies to
      receive employment services?                                                                                                   Yes
  74. How many NEW participants were referred out to receive
      employment services?
      A. For participants receiving post-release services                                                                             0
  75. Does the mentoring program provide employment services directly to
      participants?                                                                                                                  No
  76. How many total participants were enrolled in employment services
      that were directly provided during the reporting period?
      A. For participants receiving post-release services                                                                            NR
  77. How many NEW participants were enrolled in employment services
      that were directly provided?
      A. For participants receiving post-release services                                                                            NR
  78. How many participants who were directly provided with employment
      services obtained employment?
      A. For participants receiving post-release services                                                                            NR

                                                                               TREATMENT INTERVENTIONS AND SERVICES - Educational
                       Performance Measurement
                                                                                                   Services
  79. Does the mentoring program refer individuals out to other agencies to
      receive educational services?                                                                                                  Yes
  80. How many NEW participants were referred out to receive
      educational services?
      A. For participants receiving post-release services                                                                             0
  81. Does the mentoring program provide educational services directly to
      participants?                                                                                                                  No
  82. How many total participants were enrolled in educational services that
      were directly provided during the reporting period?
      A. For participants receiving post-release services                                                                            NR
  83. How many NEW participants were enrolled in educational services
      that were directly provided?
      A. For participants receiving post-release services                                                                            NR
  84. How many participants who were directly provided with educational
      services obtained a high school diploma or equivalent (GED)?                                                                   NR
  85. How many participants who were directly provided with educational
      services obtained a vocational certificate?
      A. For participants receiving post-release services                                                                            NR
  86. How many participants who were directly provided with educational
      services obtained a higher education?
      A. For participants receiving post-release services                                                                            NR

                                                                                TREATMENT INTERVENTIONS AND SERVICES - Housing
                       Performance Measurement
                                                                                                   Services
  87. Does the mentoring program refer individuals out to other agencies to
      receive housing services?                                                                                                      Yes
  88. How many NEW participants were referred out to receive housing
      services?
      A. For participants receiving post-release services                                                                             0
  89. Does the mentoring program provide housing services directly to
      participants?                                                                                                                  No
  90. How many total participants were enrolled in housing services that
      were directly provided during the reporting period?
      A. For participants receiving post-release services                                                                            NR
  91. How many NEW participants were enrolled in housing services that
      were directly provided?


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      A. For participants receiving post-release services                                                                                                  NR
  92. How many participants who were directly provided with services
      obtained housing?                                                                                                                                    NR
  *NR = not reported

                                                                                  Affordable Care Act (ACA) Implementation Health Reform -
                       Performance Measurement
                                                                                                        Direct Services
  1. During the reporting period, did you serve or provide direct services to a
     population of program participants? Services delivered to participants can
     be funded through a direct grant, contract, or subaward.                                                                                              No

                                                                                  Affordable Care Act (ACA) Implementation Health Reform -
                       Performance Measurement
                                                                                                   Eligibility and Enrollment
  2. Does your program track health care coverage for participants? This
     includes screening participants for health care eligibility, providing
     enrollment services/support, or tracking/gathering information regarding
     participants who already have health care. Health care includes programs
     such as Medicaid, Medicare, or veterans benefits.                                                                                                     NR
  *NR = not reported

                                                            Affordable Care Act (ACA) Implementation Health Reform - Eligibility and
          Performance Measurement
                                                                                          Enrollment
                                                          During the reporting           During the reporting period
                                                        period how many NEW                   how many program                    During the reporting
                                                         program participants            participants were found to                  period how many
                                                        came into the program                  be ELIGIBLE for:                   program participants
                                                                  with:                    (Eligible participants are              were ENROLLED in:
                       Measure                           (NEW participants are               those who meet the                  (Enrolled participants
                                                            those who began              requirements to qualify for               are those who were
                                                           participating in the           health care coverage. Not              enrolled in health care
                                                       program for the first time         all eligible applicants will             benefits during the
                                                          during the reporting            necessarily be enrolled in                reporting period.)
                                                                period.)                           coverage.)
                                                                         Jul - Sep 20
  3. Please complete the following table about health care and Medicaid coverage for your program during the reporting period.
        ANY health care coverage
        (Health care coverage includes both private
        health insurance and government health
        benefits. Examples include health insurance
        that is employment based, marketplace
        coverage/self-insured, Medicare, Medicaid,
        military health care, or benefits from the
        Department of Veterans Affairs.)                                            NR                                   NR                               NR

        Of those, Medicaid coverage
        (Medicaid is a joint federal–state program
        that provides health coverage or nursing
        home coverage to people meeting the
        Federal low-income level qualifications,
        including children, pregnant women,
        parents of eligible children, people with
        disabilities, and elderly people needing
        nursing home care.)                                                         NR                                   NR                               NR

  *NR = not reported

                                                                        During the reporting period how
                                                                        many program participants were              During the reporting period how
                                                                       found to be ELIGIBLE at exit for:              many program participants
                                                                      (Eligible participants are those who            were ENROLLED at exit in:
                            Measures
                                                                        meet the requirements to qualify            (Enrolled participants are those
                                                                        for health care coverage. Not all             who were enrolled in health
                                                                       eligible applicants will necessarily          care benefits at program exit.)
                                                                             be enrolled in coverage.)
                                                                         Jul - Sep 20
  4. Please complete the following table for health care and Medicaid coverage for participants EXITING the program during the reporting period. Program exit
     can either mean successfully completing program requirements or unsuccessfully exiting without completing all program requirements and can occur at
     any time during the reporting period.



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       ANY health care coverage
       (Health care coverage includes both private health
       insurance and government health benefits. Examples
       include health insurance that is employment based,
       marketplace coverage/self-insured, Medicare, Medicaid,
       military health care, or benefits from the Department of
       Veterans Affairs.)                                                  NR                               NR

       Of those, Medicaid coverage
       (Medicaid is a joint federal–state program that provides
       health coverage or nursing home coverage to people
       meeting the Federal low-income level qualifications,
       including children, pregnant women, parents of eligible
       children, people with disabilities, and elderly people
       needing nursing home care.)                                         NR                               NR
  *NR = not reported




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Grantee Comments
Grantee comments were added as follows:

                                                          July to September 2020
  [No Comments Entered]

                                                 For more information contact bjapmt@ojp.usdoj.gov
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